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1
     UNITED STATES DISTRICT COURT
2

3    DISTRICT OF NEVADA
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5    DREW RIBAR,

6    Plaintiff, Pro Se,
7
     v.
8
     WASHOE COUNTY, NEVADA, et al.,
9
     Defendants.
10

11
     Case No. 3:24-cv-00526-ART-CSD
12

13
     [PROPOSED] ORDER REGARDING DISCOVERY DISPUTE – RECORDING
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15
     DEPOSITIONS

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     Having considered Plaintiff’s Response to Defendants’ Motion Regarding Discovery Dispute –
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18   Recording Depositions (ECF No. 90), the Court finds that audiovisual recording of depositions

19   by the Plaintiff is permissible under Federal Rule of Civil Procedure 30(b)(3)(A), and that
20   Defendants have not met their burden under Rule 26(c) to justify a protective order prohibiting
21
     such recording.
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23
     Accordingly, IT IS HEREBY ORDERED:
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25        1. Defendants’ Motion to Prohibit Audiovisual Recording of Depositions (ECF No. 90) is
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             DENIED.
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     PLEADING TITLE - 1
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1       2. Plaintiff may personally record depositions audiovisually using a tripod-mounted
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           camera in accordance with Fed. R. Civ. P. 30(b)(3)(A) and 30(b)(5). Such recording
3
           must be conducted in a non-disruptive and unobtrusive manner.
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        3. Subject to the existing protective order (ECF No. 89), post-litigation publication of
5

6          deposition recordings shall be permitted unless otherwise ordered by the Court based on a

7          showing of specific harm.
8
        4. The Court clarifies that, for purposes of compliance with Fed. R. Civ. P. 37(a)(1), the
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           meet-and-confer requirement may be satisfied through email, recorded Zoom, or
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           similarly documented means, particularly where justified by pro se status, health
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12         conditions, or concerns about accuracy and misrepresentation.

13      5. Plaintiff shall continue to comply with all confidentiality, redaction, and technical
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           guidelines previously ordered or otherwise required under the Federal Rules.
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16   IT IS SO ORDERED.
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18   DATED: ______________________

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     UNITED STATES MAGISTRATE JUDGE
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     CRAIG S. DENNEY
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     PLEADING TITLE - 2
